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                           THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE
    In re:                                               Chapter 11
    Desolation Holdings LLC, et al.,1                    Case No. 23-10597 (BLS)
             Wind Down Entity.                           (Jointly Administered)

                                                         Ref. D.I. 570

     ORDER SUSTAINING PLAN ADMINISTRATOR’S OBJECTION TO CLAIM C598-
        10843 FILED BY DENISA ZANI PURSUANT TO SECTION 502 OF THE
                BANKRUPTCY CODE AND BANKRUPTCY RULE 3007

             Upon consideration of the Plan Administrator’s objection to the claim filed by Denisa Zani

(the “Objection”) and any response thereto; and the Court having found that it has jurisdiction to

consider the Objection and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and

the Amended Standing Order of Reference from the United States District Court for the District

of Delaware, dated February 29, 2012; and it appearing that venue in this District is proper pursuant

to 28 U.S.C. §§ 1408 and 1409; and it appearing that due and proper notice of the Objection has

been given and that no other or further notice is necessary; and the Court having found and

determined that the legal and factual bases set forth in the Objection establish just cause for the

relief granted herein; and after due deliberation thereon; and good and sufficient cause appearing

therefor; it is hereby

             ORDERED, ADJUDGED, AND DECREED that:

             1.     Pursuant to sections 502 of the Bankruptcy Code and Rule 3007 of the Federal

Rules of Bankruptcy Procedure, the Objection is SUSTAINED and:



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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity’s tax identification
number, are: Desolation Holdings LLC (0439); Bittrex, Inc. (0908); Bittrex Malta Holdings Ltd. (2227); and Bittrex
Malta Ltd. (1764). The mailing and service address of the Debtors is 701 5th Avenue, Suite 4200, Seattle, WA 98104.



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               a.    The Zani Claim that is claim C598-10843 is ALLOWED against BUS in the

                    amount of the assets associated with the Zani account (0.48187071 BTC; 59 LSK;

                    44 NEO; and 100 OMG) for purposes of allowance and distribution; and

               b. The Zani Claim is otherwise DISALLOWED.

          2.        The Plan Administrator and the Clerk of this Court are authorized to modify the

official Claims Register for these chapter 11 cases in compliance with the terms of this Order and

to take all steps necessary or appropriate to carry out the relief granted in this Order.

          3.        Nothing in the Objection or this Order, nor any actions taken by the Wind Down

Entity pursuant to this Order, shall be construed as: (a) an admission as to the amount of, basis for,

or validity of any claim against the Debtors under the Bankruptcy Code or other applicable

nonbankruptcy law; (b) a waiver of the Plan Administrator’s or any other party in interest’s right

to dispute any claim; (c) a promise or requirement to pay any particular claim; (d) an implication

or admission that any particular claim is of a type specified or defined in this Order; (e) an

admission as to the validity, priority, enforceability, or perfection of any lien on, security interest

in, or other encumbrance on property of the Wind Down Entity; or (f) a waiver of any claims or

causes of action which may exist against any entity under the Bankruptcy Code or any other

applicable law.

          4.        This Order is immediately effective and enforceable.

          5.        The Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation of this Order.




Dated: December 11th, 2023                            BRENDAN L. SHANNON
Wilmington, Delaware                                  UNITED STATES BANKRUPTCY JUDGE



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